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                                                             12
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                                                                                       IN THE UNITED STATES DISTRICT COURT
                                                             13
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                                                                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                             14
                                                             15
                                                             16   In the Matter of I.D., N.D., and C.D.:            Case No. 3:24-cv-04471-EMC

                                                             17   CASIMIRO JOSE CANHA CAVACO DIAS,                  OPPOSITION TO RESPONDENT’S
                                                                                                                    MOTION FOR EVIDENTIARY
                                                             18                  Petitioner,                        PRESUMPTIONS AND PRODUCTION
                                                             19                                                     OF ARMENIAN COUNSEL/EXPERT
                                                                  and                                               MATERIALS
                                                             20
                                                                  RULA NABIL KHOURY CAVACO DIAS
                                                             21
                                                                                 Respondent.
                                                             22
                                                             23
                                                                         Petitioner, CASIMIRO JOSE CANHA CAVACO DIAS (“Petitioner”), by and through
                                                             24
                                                             25   undersigned counsel, respectfully opposes Respondent RULA NABIL KHOURY CAVACO

                                                             26   DIAS’ motion for evidentiary presumptions and production of Armenian counsel/expert materials.

                                                             27   [ECF No. 128].
                                                             28
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                                                                  I. INTRODUCTION
                                                              1
                                                              2          Respondent’s motion seeks to resolve core issues that must be decided at the trial

                                                              3   commencing October 29, 2024. Respondent’s instant motion prematurely seeks to have trial issues

                                                              4   decided via pre-trial motion.
                                                              5
                                                                         Employment: Respondent would have this Court prejudge key factual issues related to
                                                              6
                                                                  Petitioner’s employment – and by extension habitual residence – based solely on the pleadings.
                                                              7
                                                                  The request is premature and prejudicial. The claims require findings of fact that require review of
                                                              8
                                                                  the evidence. Reliance on hearsay declarations and arguments of counsel are insufficient.
                                                              9
                                                             10   Petitioner has met and conferred with Respondent regarding the need to amend his Petition to

                                                             11   clarify the nuances of his employment terms and provide the necessary color for how those
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                                                             12   contracts operate in practice. On October 9, 2024, Petitioner proposed amended language to
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                                                                  Respondent. Respondent’s position that she has been prejudiced by Petitioner’s pleading is
                                                             14
                                                                  meritless. Her position that she would be able to prevail on a motion to dismiss based on
                                                             15
                                                                  Petitioner’s employment situation in Armenia is unsupported by law. It imposes a categorical
                                                             16
                                                             17   requirement on the issue of habitual residence – something that the Supreme Court has expressly

                                                             18   rejected in Monasky v. Taglieri, 589 U.S. 68, 80 (2020) (“The bottom line: There are no categorical
                                                             19   requirements for establishing a child's habitual residence…”).
                                                             20
                                                                         Evidence: Likewise, any ruling on Respondent’s accusations of spoliation requires a fact-
                                                             21
                                                                  based determination and evidentiary hearing. It defies logic to allege Respondent’s heightened
                                                             22
                                                                  evidentiary burden at trial is transmogrified by Petitioner deleting WhatApp messages prior to any
                                                             23
                                                             24   request he preserve them for trial. Respondents must prove her defense on clear and convincing

                                                             25   evidence. 22 U.S.C. § 9003(e)(2)(A). “Grave risk” is a term of art that is narrowly drawn and

                                                             26   applies only in the most extreme scenarios. Cuellar v. Joyce, 596 F.3d 505, 508 (9th Cir. 2010).
                                                             27
                                                                  The fact that Petitioner deleted text messages – the content of Respondent largely does not purport
                                                             28
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                                                                  to know – does not itself allow for a rebuttable presumption that returning the Children to Armenia
                                                              1
                                                              2   will pose a grave risk of harm.

                                                              3          Privilege: Respondent’s effort to wrest attorney client and work product privileges from

                                                              4   Petitioner’s relationship with his Armenian counsel is untenable. In this summary proceeding,
                                                              5
                                                                  Petitioner called family counsel in his Armenian proceeding to assist this Court with Armenian
                                                              6
                                                                  family and domestic violence law. Respondent’s contention this waived privilege is unsupported
                                                              7
                                                                  by reference to the antitrust, patent infringement, negligence, and legal ethics matters cited in
                                                              8
                                                                  Respondent's brief. Hague cases are expedited and provisional in nature. There is no support for
                                                              9
                                                             10   the premise “left behind” parents in a Hague proceeding are stripped of attorney client and work

                                                             11   product privileges by calling their family law counsel from the home jurisdiction to testify
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                                                             12   regarding foreign law. Petitioner’s Armenian expert will testify to Armenian law. Her knowledge
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                                                                  of Armenian law is not based on privileged information. This is not a situation where Petitioner is
                                                             14
                                                                  relying on using privileged information as both a shield and a sword, such that waiver would be
                                                             15
                                                                  appropriate. See, e.g. Weil v. Inv./Indicators, Rsch. & Mgmt., Inc., 647 F.2d 18, 24 (9th Cir. 1981).
                                                             16
                                                             17   Privileged information plays no role in the relevant expert testimony. Respondent has also not

                                                             18   cited a single Hague Convention case to support her untenable position.
                                                             19   II. ARGUMENT
                                                             20
                                                                           A. Amended Pleading: Respondent is Aware Petitioner is Amending his Pleading
                                                             21
                                                                         Regarding the initial statements in the Petition [ECF No. 1], without disclosing or waiving
                                                             22
                                                                  any attorney-client privilege, any representations about Petitioner’s WHO assignment to Armenia
                                                             23
                                                             24   were reasonably based on discussions with Petitioner and his prior work history which included

                                                             25   several multi-year assignments in different countries.

                                                             26          As a consequence of the expedited nature of this case, Petitioner’s counsel was not in
                                                             27
                                                             28
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                                                                  receipt of any work contracts until shortly before discovery was exchanged. 1 Once Respondent
                                                              1
                                                              2   pointed out the discrepancy between Petitioner’s work contract and statements related to his

                                                              3   employment in Petitioner’s court filings, Petitioner agreed to amend the relevant language. Since

                                                              4   then, counsel for both parties have exchanged multiple emails and held meet and confers to discuss
                                                              5
                                                                  language and process for amending the statements. Petitioner has been cooperative with
                                                              6
                                                                  Respondent regarding this issue, yet Respondent still saw it necessary to file the instant motion
                                                              7
                                                                  despite the knowledge that Petitioner intends to amend the relevant filings.
                                                              8
                                                                         In fact, in the joint pretrial statement [ECF No. 121], it was stipulated that Petitioner’s work
                                                              9
                                                             10   contract was initially for one year to conclude in November 2024. This stipulated fact makes clear

                                                             11   that Petitioner was correcting his statement and representation to the Court regarding his
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                                                             12   employment. To be clear, the revised statement regarding Petitioner’s employment was not the
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                                                                  first notice Respondent had that Petitioner had agreed and intended to modify the subject court
                                                             14
                                                                  filings. Petitioner actively agreed to amend these statements to the Court beforehand. On October
                                                             15
                                                                  4, 2024, Petitioner informed Respondent that they would amend the pleadings.
                                                             16
                                                             17          In addition, the parties were discussing the process for amending the statements. During a

                                                             18   meet and confer on October 7, 2024, Petitioner addressed the process for amending the
                                                             19   misstatements made in prior filings. Petitioner suggested a stipulation would be needed to amend
                                                             20
                                                                  since their time to automatically amend had passed. Respondent responded that filing a “Notice”
                                                             21
                                                                  would be sufficient. Petitioner took that to mean that he would file a Notice to the Court with the
                                                             22
                                                                  various filings that would need to be amended. In a show of good faith, Petitioner proposed
                                                             23
                                                             24   language to Respondent on October 9, 2024 (See Exhibit D), after having already read the language

                                                             25
                                                             26
                                                             27
                                                                  1
                                                                    Respondent’s discovery demands were exchanged later than Petitioners due to initial
                                                                  disagreement on discovery deadlines and the entry of new counsel for Respondent. Petitioner’s
                                                             28   counsel therefore had further condensed time to review Petitioner’s discovery documents.
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                                                                  to Respondent during a meet and confer that same day. 2 That same day, Respondent sent proposed
                                                              1
                                                              2   edits to the amended language for the pleadings. Id. Petitioner responded on October 10, 2024,

                                                              3   stating that the proposed edits would be reviewed and discussed. Id. That same day, Respondent

                                                              4   proposed a “solution” to the matter which entailed conceding to “a rebuttable presumption that
                                                              5
                                                                  petitioners employment in Armenia is temporary and does not support a habitual residence finding
                                                              6
                                                                  as to Armenia.” Id. Petitioner rejected this “solution.” Id.
                                                              7
                                                                         While continuing discussions about the amended language, after having already agreed to
                                                              8
                                                                  the simple change in the joint pretrial statement, Respondent, for the first time, on October 11,
                                                              9
                                                             10   2024, demanded that Petitioner file a motion for leave to amend and would not stipulate to any

                                                             11   amendments even though they clearly do not oppose it and requested it in the first place (See
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                                                             12   Exhibit D). This reversal of position was unanticipated although consistent with Respondent’s
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                                                                  conduct in this litigation thus far. On October 13, 2024, Respondent's counsel requested
                                                             14
                                                                  confirmation that Petitioner would be filing a motion to amend the pleadings and filings. On the
                                                             15
                                                                  same day, Petitioner's counsel confirmed that, as the Notice was no longer deemed acceptable and
                                                             16
                                                             17   due to Respondent's refusal to stipulate, a motion for leave to amend the pleadings would be

                                                             18   forthcoming. Petitioner also requested clarification as to whether Respondent would oppose the
                                                             19   motion to amend. Respondent replied that they would only agree not to oppose the motion if
                                                             20
                                                                  Petitioner adopted Respondent's proposed language edits and if they were given the opportunity
                                                             21
                                                                  to review the motion beforehand. On October 14, 2024, Petitioner informed Respondent that
                                                             22
                                                             23
                                                             24
                                                                  2
                                                                    Petitioner made best efforts to discuss these issues in a timely manner. However, considering
                                                             25   the time difference between counsel for the parties and especially between both Petitioner’s
                                                                  counsel’s offices and Petitioner in Armenia, it was not always possible to immediately address
                                                             26
                                                                  these issues. Moreover, there were numerous issues being addressed simultaneously around this
                                                             27   time with the Court deadlines and other issues being raised by Respondent, including those not
                                                                  addressed in this motion, that required attention. Petitioner attempted to resolve all of these issues
                                                             28   as expeditiously as possible.
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                                                                  simplified language would be sent for their review. Subsequently, on October 15, 2024, Petitioner
                                                              1
                                                              2   provided Respondent with the simplified amended language for their review. As of this filing,

                                                              3   Petitioner is actively preparing those filings alongside his opposition to the instant motion.

                                                              4           As to the assertions in Petitioner’s Proposed Findings of Fact and Conclusions of Law
                                                              5
                                                                  referenced by Respondent in Footnote 4, the assertions were altered, as mentioned above, after
                                                              6
                                                                  discussions with Respondent. As to proof of those assertions, that is the point of the evidentiary
                                                              7
                                                                  hearing, which is where these issues properly belong. If Respondent believes that Petitioner is
                                                              8
                                                                  misleading the Court as to the expected length of his assignment, then she can question him on
                                                              9
                                                             10   this issue on cross examination and present any evidence she may have to refute that assertion.

                                                             11   However, Petitioner has steadfastly stated that he understood his position to be one of longer-term
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                                                             12   duration to last several years and has stated that the parties discussed the length of their stay in
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                                                                  Armenia.
                                                             14
                                                                          Respondent stating that she does not agree with Petitioner’s assertions is not a basis for the
                                                             15
                                                                  Court to find that Petitioner has violated Rule 11. Petitioner previously stated in his petition and a
                                                             16
                                                             17   few subsequent court filings that there was a fixed term contract for five years. That was not

                                                             18   accurate. However, Petitioner’s general point about the parties’ intentions and expectations
                                                             19   regarding an anticipated extended move to Armenia is now described in Petitioner’s accompanying
                                                             20
                                                                  Declaration. (See Petitioner’s Declaration at Pg. 1-3).
                                                             21
                                                                           B. The substance of the allegation is materially correct even if the wording was not
                                                             22               technically accurate.
                                                             23           Petitioner did misstate his employment situation, but not to mislead the Court or take any
                                                             24
                                                                  action to “harass, cause unnecessary delay, or needlessly increase the cost of litigation.” As soon
                                                             25
                                                                  as this issue arose, it was, in good faith, addressed.
                                                             26
                                                                          However, besides acknowledging the specific error in alleging that there was a fixed term
                                                             27
                                                             28   contract for five years in Armenia, rather than one year, the intention of Petitioner in his allegations
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                                                                  remain the same. Respondent’s position that the parties’ stay in Armenia was meant to conclude
                                                              1
                                                              2   in November 2024, full stop, is meritless and is not supported by the evidence.

                                                              3          Petitioner expects to be in Armenia for long term as the WHO has stated in his position

                                                              4   description that his assignment is considered longer term. (See Petitioner’s Proposed Trial Exhibit
                                                              5
                                                                  12 at Pg. 24). Petitioner’s basis for this five-year expectation will be his own testimony, his prior
                                                              6
                                                                  work history within the WHO, and conversations with his employer and with Respondent.
                                                              7
                                                                         Moreover, the parties signed an automatic renewed lease one-year lease agreement that
                                                              8
                                                                  initially expires in February 2025.3 (See Petitioner’s Proposed Trial Exhibit 6). The family
                                                              9
                                                             10   obtained residence/diplomatic cards from Armenia that expire on July 8, 2026 (See Petitioner’s

                                                             11   Proposed Trial Exhibit 1, 3, 534). The Respondent had an Armenian phone number. (See
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                                                             12   Petitioner’s Proposed Trial Exhibit 30 at Pg. 17). The Children were enrolled in school in Armenia.
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                                                                  (See Petitioner’s Proposed Trial Exhibit 18, 20, 44, and 45). None of these facts are consistent
                                                             14
                                                                  with an intention to remain in Armenia until November 2024.
                                                             15
                                                                         Perhaps most tellingly, the parties shipped their belongings from Jamaica to Armenia. (See
                                                             16
                                                             17   Petitioner’s Proposed Trial Exhibit 42). Respondent, in refusing to stipulate to this fact in the joint

                                                             18   pretrial statement, highlighted the fact that the belongings had not arrived by the time Respondent
                                                             19   and the Children left Armenia in April 2024. [ECF No. 121 at 21]. The shipment from Jamaica to
                                                             20
                                                                  Armenia was dated January 2, 2024. (See Petitioner’s Proposed Trial Exhibit 42). The estimated
                                                             21
                                                                  date of delivery was April 18, 2024. Id. The belongings, including the children’s toys, are now in
                                                             22
                                                                  Armenia. (See Petitioner’s Declaration at Pg. 3). As stated by Petitioner in his declaration, the
                                                             23
                                                             24   parties “would not have shipped [their] belongings to Armenia, signed a lease until February 2025,

                                                             25
                                                             26
                                                                  3
                                                             27    Petitioner admits that the lease agreement was not for five years as initially stated. Although this
                                                                  was not raised previously by Respondent’s counsel, clearly the lease agreement was initially for
                                                             28   one year from February 2024 to February 2025.
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                                                                  received Armenian resident cards until 2026, or enrolled the Children in the middle of the school
                                                              1
                                                              2   year and have them start a new school term for only a couple of months, disrupting their entire

                                                              3   lives, if this was meant to be a move for less than a year.” Id.

                                                              4          There are sufficient facts to allege that the parties planned to be in Armenia for the
                                                              5
                                                                  foreseeable future and not simply until November 2024, weighs towards it being the children’s
                                                              6
                                                                  habitual residence. Further, Petitioner had no prospects for future employment anywhere else in
                                                              7
                                                                  the immediate future. (See Petitioner’s Declaration at Pg. 2). Unless Respondent is alleging that
                                                              8
                                                                  Petitioner was simply going to lose his job in November (not based on recent allegations but even
                                                              9
                                                             10   when they initially moved in December 2023) and be unemployed, then clearly the expectation

                                                             11   was that he would remain in this position until another opportunity or offer came around.
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                                                             12          Petitioner, to be clear, has represented and continues to represent that their stay in Armenia
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                                                                  was going to last several years. Petitioner recently asked for a continuance of the upcoming
                                                             14
                                                                  evidentiary hearing [ECF No. 116], and Petitioner’s counsel argued in sum and substance that if
                                                             15
                                                                  Respondent believes in earnest that Petitioner’s employment with the WHO will be terminated in
                                                             16
                                                             17   November 2024, then continuing the trial would provide an answer to that question. If Petitioner

                                                             18   did lose his job and had to leave Armenia that would have substantial impact on this case. See e.g.,
                                                             19   Von Kennel Gaudin v. Remis, 282 F.3d 1178, 1183 (9th Cir. 2002) (petitioner moving to the United
                                                             20
                                                                  States renders case moot).
                                                             21
                                                                         Respondent’s assertion that termination of Petitioner’s employment in Armenia would
                                                             22
                                                                  have mooted this case fundamentally begs the question of why she would not consent to continue
                                                             23
                                                             24   the evidentiary hearing if they believed that would come to pass in approximately one month.

                                                             25            C. There is No Basis for a Motion to Dismiss

                                                             26          While Respondent takes the position that they earnestly attempted to resolve this issue with
                                                             27
                                                                  Petitioner, the positions they have taken in their emails and during the meet and confers have been
                                                             28
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                                                                  extreme and unwarranted which is the reason this issue remains unresolved. Respondent has
                                                              1
                                                              2   essentially taken the position that Petitioner must cede the issue of habitual residence and therefore

                                                              3   his prima facie case under penalty of sanctions. Respondent’s position that Petitioner’s

                                                              4   misstatement regarding his employment prevented them from filing a successful motion to dismiss
                                                              5
                                                                  is unsupported by the law or facts and they were never prejudiced by Petitioner’s misstatement in
                                                              6
                                                                  that regard.
                                                              7
                                                                         The question for the Court on a motion to dismiss is whether the facts alleged in the
                                                              8
                                                                  complaint sufficiently state a “plausible” ground for relief. Bell Atl. Corp. v. Twombly, 550 U.S.
                                                              9
                                                             10   544, 570 (2007). In the context of a motion under Rule 12(b)(6) of the Federal Rules of Civil

                                                             11   Procedure, the Court must “accept factual allegations in the complaint as true and construe the
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                                                             12   pleadings in the light most favorable to the nonmoving party.” Manzarek v. St. Paul Fire & Marine
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                                                                  Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008) (citation omitted).
                                                             14
                                                                          To survive a motion to dismiss under Rule 12(b)(6), a complaint must allege “enough facts
                                                             15
                                                                  to state a claim to relief that is plausible on its face.” [ ]Twombly, 550 U.S. at 570. A plausible
                                                             16
                                                             17   claim includes “factual content that allows the court to draw the reasonable inference that the

                                                             18   defendant is liable for the misconduct alleged.” U.S. v. Corinthian Colls., 655 F.3d 984, 991 (9th
                                                             19   Cir. 2011) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Only if the complaint fails to
                                                             20
                                                                  state a cognizable legal theory or fails to provide sufficient facts to support a claim is dismissal
                                                             21
                                                                  appropriate. Shroyer v. New Cingular Wireless Servs., Inc., 622 F.3d 1035, 1041 (9th Cir. 2010).
                                                             22
                                                                         Filing of a motion to dismiss in this case would have been frivolous even if Petitioner had
                                                             23
                                                             24   pled his amended claim regarding his employment situation. Habitual residence cases are highly

                                                             25   fact determinative findings and one fact, no matter how relevant, is not determinative of the issue.

                                                             26          In fact, the Supreme Court’s holding in Monasky case detailed how one factor should not
                                                             27
                                                                  be determinative of habitual residence, in particular whether there was an actual agreement
                                                             28
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                                                                  between the parties as to a move. Monasky, 589 U.S. at 68. The Supreme Court stated very clearly
                                                              1
                                                              2   that courts must consider a totality of the circumstances when analyzing habitual residence. Id.

                                                              3             Here, Respondent seems to suggest that if the parties had only intended to stay in Armenia

                                                              4   for one year, then it could not be the Children’s habitual residence. First, simply because the
                                                              5
                                                                  contract is initially for one year does not mean that their stay was limited to one year, a material
                                                              6
                                                                  issue of fact which would need to be determined at an evidentiary hearing.
                                                              7
                                                                            Second, even if it were for one year (Petitioner refutes this), there is simply no basis to
                                                              8
                                                                  extrapolate that one fact as dispositive of the issue of habitual residence. In the recent Goldstein
                                                              9
                                                             10   v. Simon, No. 24-12098, 2024 WL 4284921, at *3 (11th Cir. Sept. 25, 2024), the Eleventh Circuit

                                                             11   affirmed the district court’s finding that children’s habitual residence changed from Israel to
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                                                             12   Florida in approximately four months when the parents agreed to stay in Florida for six months to
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                                                                  a year.
                                                             14
                                                                            As Petitioner has stated in his Proposed Findings of Fact and Conclusions of Law, the
                                                             15
                                                                  Children had no other home in the world in April 2024, when habitual residence must be
                                                             16
                                                             17   determined. Monasky, 140 S. Ct. at 726 (“The place where a child is at home, at the time of removal

                                                             18   or retention, ranks as the child's habitual residence.”) Respondent’s position amounts to the
                                                             19   Children having no home in April 2024.
                                                             20
                                                                            Habitual residence is not determined in November 2024 or anytime in the future. The
                                                             21
                                                                  operative date is therefore April 2024 and not November 2024 or beyond. Even if the parties had
                                                             22
                                                                  not intended to remain in Armenia forever, the fact that they lived in Armenia in April 2024 is in
                                                             23
                                                             24   and of itself evidence that Armenia is the Children’s habitual residence. See. e.g. Adkins v. Adkins,

                                                             25   No. 19-CV-05535-HSG, 2019 WL 4933571, at *6 (N.D. Cal. Oct. 7, 2019) citing Mozes v. Mozes,

                                                             26   239 F.3d 1067, 1074 (9th Cir. 2001) (“[the habitual residence] does not necessarily need to be
                                                             27
                                                                  where the parties intended to live forever or ‘leave [their] bones.’”).
                                                             28
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                                                                         As of April 2024, the Children were going to school in Armenia and their lives were
                                                              1
                                                              2   centered there. (See Petitioner’s Proposed Trial Exhibit 18, 20, 44, and 85). The parties had no

                                                              3   expectation or plan as to where they would go after their stay in Armenia, whether that was going

                                                              4   to be in November 2024 or in 2028. Respondent has offered no possibility of where the family
                                                              5
                                                                  was going to go after November 2024 nor has she asserted that there was an actual plan to leave
                                                              6
                                                                  Armenia. Even assuming arguendo that the parties wanted to leave Armenia, that contingent desire
                                                              7
                                                                  does not preclude Armenia from being the Children’s habitual residence. See Koch v. Koch, 450
                                                              8
                                                                  F.3d 703, 715 (7th Cir. 2006); (the parents’ “shared intent to someday return to a prior place of
                                                              9
                                                             10   residence does not answer the primary question of whether that residence was effectively

                                                             11   abandoned and a new residence established by the shared actions and intent of the parents coupled
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                                                             12   with the passage of time.”). Note that here Respondent does not allege that the parties had a set
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                                                                  intention to move back to a prior habitual residence, or anywhere at all for the matter.
                                                             14
                                                                        Armenia was not transitory in the sense of the Hague case law whereby a move is transitory
                                                             15
                                                                  before the parties return to a home country. See. e.g. Pesin v. Rodriguez, 77 F.Supp.2d 1277, 1285
                                                             16
                                                             17   (S.D. Fla. 1999) (settled purpose of family trip was a vacation of finite duration); Brennan v.

                                                             18   Cibault, 227 A.D.2d 965, 965, 643 N.Y.S.2d 780 (N.Y. App. Div. 1996) (mother agreed that child
                                                             19   should remain with father in New York for six months, but expected her to return to France); Watts
                                                             20
                                                                  v. Watts, 935 F.3d 1138, 1144–45 (10th Cir. 2019) (no change in habitual residence where “family
                                                             21
                                                                  intended to remain in Australia for ‘a highly specific purpose which by its nature had a limited
                                                             22
                                                                  duration’”).
                                                             23
                                                             24          As applicable here, if the family had always lived in the U.S. and had moved to Armenia

                                                             25   for one year with a set plan to move back, then certainly that could be a finding that the move was

                                                             26   temporary and transitory until they returned to their home in the U.S. However, when a family
                                                             27
                                                                  simply moves from one country to another with no expectation of returning to a prior home, then
                                                             28
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                                                                  the new country must, for all intents and purposes, be considered the Children’s habitual residence,
                                                              1
                                                              2   almost immediately, until the next move occurs. Grano v. Martin, 443 F. Supp. 3d 510, 537

                                                              3   (S.D.N.Y. 2020), aff'd, 821 F. App'x 26 (2d Cir. 2020). (finding that the child's habitual residence

                                                              4   was where the family intended to relocate indefinitely). To that point, “[w]hen the child moves to
                                                              5
                                                                  a new country accompanied by both parents, who take steps to set up a regular household together,
                                                              6
                                                                  the period need not be long [to establish a new habitual residence].” Shah v. Federbush, No. 19-
                                                              7
                                                                  CV-4485 (VEC), 2019 WL 5060496, at *9 (S.D.N.Y. Oct. 9, 2019) (quoting Mozes, 239 F.3d at
                                                              8
                                                                  1078); Norinder v. Fuentes, 657 F.3d 526, 534 (7th Cir. 2011).
                                                              9
                                                             10          Here, that would be Armenia. According to Respondent’s legal theory, each move that this

                                                             11   family made was transitory until the next work assignment, resulting in the Children NEVER
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                                                             12   having a habitual residence. Taken further, each parent would therefore be free to abduct the
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                                                                  Children to wherever they so desired. By her own logic, Petitioner would have been well within
                                                             14
                                                                  his rights to abduct the Children from Armenia to anywhere in the world at any point since their
                                                             15
                                                                  arrival as they had no habitual residence. This is a legally untenable argument which subverts the
                                                             16
                                                             17   purpose of the Hague Convention.

                                                             18          As a result, Respondent was in no way prejudiced by Petitioner’s misstatement about his
                                                             19   work contract. This issue was, at most, relevant to have been brought up during cross examination.
                                                             20
                                                                  That fact surrounding his contract would have inevitably been brought to the Court’s attention and
                                                             21
                                                                  would be a relevant consideration in this Court’s determination of a fact intensive question but in
                                                             22
                                                                  no way would it be the only relevant fact.
                                                             23
                                                             24          As to Petitioner’s job search, he is essentially always looking for jobs and opportunities

                                                             25   within the WHO. (See Petitioner’s Declaration at Pg. 2). He did so before and after his move to

                                                             26   Armenia. Id. As he stated, this process can take several years so the fact that he was looking for
                                                             27
                                                                  jobs while in Armenia is not indicative of his expectation or desire to stay in Armenia or leave.
                                                             28
                                                                  Case 3:24-cv-04471-EMC Document 136 Filed 10/15/24 Page 13 of 24




                                                                  Moreover, as Respondent did not specifically ask for his job applications in any discovery demand
                                                              1
                                                              2   even though Respondent had such evidence at her disposal, as soon as they did seek it informally

                                                              3   on October 9, 2024, after discovery was turned over, Petitioner has complied and continues to

                                                              4   comply. (See Exhibit E). Petitioner produced his job applications and a summary of his
                                                              5
                                                                  applications within the WHO to Respondent a few hours later that same day. (See Exhibit F).
                                                              6
                                                                  Petitioner also advised as to no objection to Respondent adding these applications to their exhibit
                                                              7
                                                                  list. Id.
                                                              8
                                                                               D. Sanctions are Not Warranted
                                                              9
                                                             10               In Cooter & Gell v. Hartmarx Corp., 496 U.S. 384 (1990), the Supreme Court stated that
                                                             11   “the central purpose of Rule 11 is to deter baseless filings in District Court and thus, consistent
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                                                             12   with the Rule Enabling Act's grant of authority, streamline the administration and procedure of the
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                                                                  federal courts.” Thus, sanctions are “reserve[d] for the rare and exceptional case where the action
                                                             14   is clearly frivolous, legally unreasonable or without legal foundation, or brought for an improper
                                                             15   purpose.” Operating Engineers Pension Tr. v. A-C Co., 859 F.2d 1336, 1344 (9th Cir. 1988).
                                                             16               Petitioner’s filing was not baseless, legally unreasonable or brought for an improper
                                                             17   purpose. The family moved to Armenia and set up a home there. Respondent removed the subject
                                                             18   children from Armenia without Petitioner’s consent. This is the precise situation the Hague
                                                             19   Convention covers. Respondent asserts that, had Petitioner plead his employment situation in
                                                             20   Armenia with greater accuracy, then he could not sustain an action as a matter of law because
                                                             21   Armenia could not have been the children’s habitual residence. Respondent’s position is legally
                                                             22   incorrect, and Petitioner makes out a viable claim that Armenia was the children’s habitual
                                                             23   residence as of the date they were removed to the United States by virtue of the fact that the
                                                             24   children lived in Armenia prior to their wrongful removal.
                                                             25               Rule 11 provides two independent bases for the imposition of sanctions: one if a pleading
                                                             26   is frivolous and another if it has been filed for an improper purpose. See Zaldivar v. City of Los
                                                             27   Angeles, 780 F.2d 823, 830–32 (9th Cir. 1986). The instant Petition was neither frivolous nor filed
                                                             28
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                                                              1   for improper purpose. It was filed as Petitioner’s proper legal recourse to remedy a clear cut

                                                              2   instance of international child abduction.

                                                              3           When a “complaint is the primary focus of Rule 11 proceedings, a district court must

                                                              4   conduct a two-prong inquiry to determine (1) whether the complaint is legally or factually baseless

                                                              5   from an objective perspective, and (2) if the attorney has conducted a reasonable and competent

                                                              6   inquiry before signing and filing it.” Christian v. Mattel, Inc., 286 F.3d 1118, 1127 (9th Cir.2002)

                                                              7   (internal quotations and citation omitted). The Ninth Circuit uses the word “frivolous” as shorthand

                                                              8   for this test “to denote a filing that is both baseless and made without a reasonable and competent

                                                              9   inquiry.” Moore v. Keegan Mgmt. Co (In re Keegan Mgmt. Co., Sec. Litig.), 78 F.3d 431, 434 (9th

                                                             10   Cir. 1996). The frivolousness clause of Rule 11 requires that “to the best of the signer's knowledge,

                                                             11   information, and belief formed after reasonable inquiry [the pleading, motion, or other paper] is
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                                                             12   well grounded in fact and is warranted by existing law or a good faith argument for the extension,
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                                                             13   modification, or reversal of existing law.” Fed.R.Civ.P. 11. 4
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                                                             14           Further, “Rule 11 permits sanctions only where the pleading as a whole is frivolous.”

                                                             15   Community Elec. Serv. of Los Angeles, Inc. v. National Elec. Contractors Ass'n, Inc., 869 F.2d

                                                             16   1235, 1242–43 (9th Cir.), cert. denied, 110 S.Ct. 236 (1989). “A complaint is factually frivolous

                                                             17   if a competent attorney, after reasonable inquiry, could not form a reasonable belief that the

                                                             18   complaint was well founded in fact.” Greenberg v. Sala, 822 F.2d 882, 887 (9th Cir.1987). “We

                                                             19   have imposed Rule 11 sanctions where some error or admission by a litigant undermined his entire

                                                             20   case at a stroke.” Id.

                                                             21           The Ninth Circuit has declined to apply Rule 11 sanctions on grounds of factual issues that

                                                             22   have yet to be decided. For example, in Does 1-60 v. Republic Health Corp., 669 F. Supp. 1511,

                                                             23
                                                             24   4
                                                                    Rule 11 also applies to defenses raised and Respondent has raised the defenses that Petitioner
                                                                  did not have custody rights under Armenian law and was not exercising his custody rights. [ECF
                                                             25   No. 57 at 15]. The idea that as the Children’s father Petitioner was devoid of custody rights under
                                                                  Armenian law was a frivolous position to take. Similarly, that Petitioner was not exercising those
                                                             26
                                                                  rights in April 2024 when he was living with the Children is also a frivolous position. Both of
                                                             27   these arguments are meritless on the law and facts on their face and Respondent’s counsel has
                                                                  since represented that they will not pursue those defenses, but they have not amended their Answer
                                                             28   to reflect their representations.
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                                                              1   1519 (D. Nev. 1987), the plaintiffs sought Rule 11 sanctions on grounds that the defendants carried

                                                              2   on an advertising campaign in Nevada and the alleged fact that one of the defendants was operating

                                                              3   a hospital unit in Nevada. Though the plaintiffs submitted convincing evidence of the defendants’

                                                              4   connections to Nevada, the court found that there still existed a question of fact regarding whether

                                                              5   the defendants can be said to have carried on advertising or conducted business in Nevada. Id. at

                                                              6   1519. The court held that sanctions could not be levied on against the defendants on the basis of

                                                              7   such factual issues, for “[t]he issue is close enough that sanctions should not be levied against

                                                              8   defendants for their contesting it.” Id.

                                                              9          The second prong of the rule tests improper purpose, but where a complaint is in question,

                                                             10   “a non-frivolous complaint cannot be said to be filed for an improper purpose.” Greenberg v. Sala,

                                                             11   822 F.2d 882, 885 (9th Cir.1987) (per curiam). Once frivolousness is found, the court may inquire
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                                                             12   into improper purpose. Hudson v. Moore Business Forms, Inc., 836 F.2d 1156, 1162 (9th Cir.1988)
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                                                             13   However, in the context of a complaint, pleadings must first be determined to be frivolous before
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                                                             14   they are determined to have been filed for an improper purpose. Zaldivar v. City of Los Angeles,

                                                             15   780 F.2d 823, 832 (9th Cir.1986). See Westlake N. Prop. Owners Ass'n v. City of Thousand Oaks,

                                                             16   915 F.2d 1301, 1307 (9th Cir. 1990) (since petition was not frivolous, court did not need to get

                                                             17   into the analysis of whether it was maintained for an improper purpose.)

                                                             18          In the instant circumstances, because the Petition was not frivolous, the Court need not

                                                             19   reach the improper purpose test. However, it should be noted that the Hague petition was not filed

                                                             20   for an improper purpose. On the contrary, it was filed for the purpose contemplated by the Hague

                                                             21   Convention – to obtain an order returning Petitioner’s abducted children to their country of

                                                             22   habitual residence.

                                                             23          Respondent argues that if Petitioner had accurately stated that his WHO work contract was

                                                             24   for one year rather than five years, the Petition would have been moot or unsustainable. However,

                                                             25   sanctions are “reserve[d] [] for the rare and exceptional case where the action is clearly frivolous,

                                                             26   legally unreasonable or without legal foundation, or brought for an improper purpose.” Operating

                                                             27   Engineers Pension Tr. v. A-C Co., 859 F.2d 1336, 1344 (9th Cir. 1988) (“Rule 11 must not be

                                                             28
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                                                              1   construed so as to conflict with the primary duty of an attorney to represent his or her client

                                                              2   zealously [and] [f]orceful representation often requires that an attorney attempt to read a case or

                                                              3   an agreement in an innovative though sensible way.”). Notwithstanding the evidence to suggest

                                                              4   that the parties planned to remain in Armenia for more than a year, Petitioner’s one year contract

                                                              5   as an isolated fact is not dispositive of habitual residence which is a fact sensitive rather than a

                                                              6   categorical inquiry. See Monasky, 589 U.S. at 77.

                                                              7          Respondent’s motion for Rule 11 sanctions is also procedurally defective.

                                                              8   Rule 11(c)(2) provides in part that a motion for sanctions “must not be filed or be presented to the

                                                              9   court if the challenged paper, claim, defense, contention, or denial is withdrawn or appropriately

                                                             10   corrected within 21 days after service or within another time the court sets.” This is referred to as

                                                             11   the “safe harbor” provision of Rule 11. See Fed. R. Civ. P. 11; Adv. Comm. Notes, 1992 Amend.
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                                                             12   This provision requires that a motion for sanctions be served on the opposing party 21 days before
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                                                             13   it is filed in court. Radcliffe v. Rainbow Const. Co., 254 F.3d 772, 789 (9th Cir. 2001). Respondent
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                                                             14   has not complied with the notice provision before filing the instant motion. Moreover, Petitioner

                                                             15   intends to file a motion to amend the petition within the 21 day safe harbor period. See Retail

                                                             16   Flooring Dealers of Am., Inc. v. Beaulieu of Am., LLC, 339 F.3d 1146, 1150 (9th Cir. 2003) (“The

                                                             17   safe harbor provision gives an attorney the opportunity to withdraw or correct a challenged filing

                                                             18   by requiring a party filing a Rule 11 motion to serve the motion 21 days before filing the motion.”).

                                                             19          As discussed below, the misstatements will be corrected and therefore no sanctions should

                                                             20   be awarded as it will be corrected well within the 21 day timeframe.

                                                             21
                                                                           E. Spoliation
                                                             22
                                                             23          Petitioner did not have reasonable notice that he must preserve his WhatsApp messages

                                                             24   until Respondent’s counsel sent a letter regarding the preservation of these messages on September

                                                             25   12, 2024. Even if Petitioner should have reasonably known to preserve that information, at the
                                                             26
                                                                  very earliest it was when Respondent filed her opposition to the Motion for Access on September
                                                             27
                                                                  11, 2024 [ECF No. 85], which, for the first time, made specific allegations against Petitioner
                                                             28
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                                                                  regarding abuse outside of what allegedly occurred in April 2024, rather than the general
                                                              1
                                                              2   allegations contained in the Answer. [ECF No. 57]. Until then, Petitioner was under the impression

                                                              3   that Respondent’s allegations were focused on her allegations concerning the events surrounding

                                                              4   April 2024. Petitioner addresses the deletion of messages in his accompanying Declaration.
                                                              5
                                                                         If Petitioner was making a concerted effort to delete all of the messages which reflect
                                                              6
                                                                  poorly upon him, he clearly did not succeed. Respondent does not represent what the content of
                                                              7
                                                                  those deleted messages were, with the exception of having exchanged about four messages that
                                                              8
                                                                  were previously deleted. Why she is in possession of those messages and not others remains
                                                              9
                                                             10   unexplained. She may have preserved some messages because they reflected poorly on Petitioner

                                                             11   while she did not preserve others that were more innocuous.
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                                                             12          Sanctions are available under Rule 37(e) when “electronically stored information that
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                                                                  should have been preserved in the anticipation or conduct of litigation is lost because a party failed
                                                             14
                                                                  to take reasonable steps to preserve it, and it cannot be restored or replaced through additional
                                                             15
                                                                  discovery.” If the moving party proves the necessary elements, then:
                                                             16
                                                             17          Two categories of sanctions exist. First, where the district court finds that the loss
                                                                         of information has prejudiced the moving party, the district court may order
                                                             18          “measures no greater than necessary to cure the prejudice.” Fed. R. Civ. P. 37(e)(1).
                                                                         Second, where the district court finds that the offending party “acted with the intent
                                                             19          to deprive another party of the information's use in the litigation,” the district court
                                                             20          may require an adverse evidentiary presumption, dismiss the case, or enter default
                                                                         judgment. Fed. R. Civ. P. 37(e)(2).
                                                             21
                                                             22   Newberry v. Cnty. of San Bernardino, 750 F. App'x 534, 537 (9th Cir. 2018).
                                                             23           Respondent’s “compromise” offered during meet and confers and requested relief herein
                                                             24
                                                                  is unwarranted. Under Ninth Circuit precedent, appropriate sanctions for spoliation of evidence
                                                             25
                                                                  include excluding evidence and giving an adverse inference instruction. See, e.g., Glover v. BIC
                                                             26
                                                                  Corp., 6 F.3d 1318, 1417 (9th Cir. 1993) (adverse inference); Unigard Sec. Ins. Co. v. Lakewood
                                                             27
                                                             28   Engineering & Mfg. Corp., 982 F.2d 363, 369 (9th Cir. 1992) (exclusion of evidence). Even if this
                                                                  Case 3:24-cv-04471-EMC Document 136 Filed 10/15/24 Page 18 of 24




                                                                  Court were to draw a negative inference (Petitioner herein argues that such a negative inference
                                                              1
                                                              2   should not be drawn) that Petitioner’s deleted messages were of the same nature as the ones that

                                                              3   Respondent provided, that still would not be a determinative of the issue of grave risk of harm.

                                                              4          Respondent seemingly seeks to avoid an evidentiary hearing where this case is resolved on
                                                              5
                                                                  its merits. The issue of ameliorative measures plays a large role in whether a grave risk of harm
                                                              6
                                                                  exists as do many other factors, including to what extent Respondent’s allegations are found to be
                                                              7
                                                                  true. If, for example, the deleted messages were the sole evidence for a finding of grave risk, it
                                                              8
                                                                  would be difficult to imagine that it could constitute a basis for such a finding.
                                                              9
                                                             10          However, even if they do support such a finding, that finding is available to the Court after

                                                             11   a full evidentiary hearing where Respondent can confront and question Petitioner about the deleted
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                                                             12   messages and other evidence.
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                                                                           F. Armenian counsel and Privilege
                                                             14
                                                                         Foreign attorneys are regularly called as experts in Hague Convention cases to testify
                                                             15
                                                                  regarding foreign law. See, e.g., Radu v. Shon, 62 F.4th 1165, 1170 (9th Cir. 2023) (respondent
                                                             16
                                                             17   calls German-licensed attorney as an expert regarding ameliorative measures); Saada v. Golan,

                                                             18   712 F. Supp. 3d at 368 (petitioner calls Italian attorney as expert); Munoz v. Diaz, No. 4:22-CV-9,
                                                             19   2023 WL 139732, at *1 (S.D. Ga. Jan. 9, 2023) (Mexican attorneys testify as competing experts
                                                             20
                                                                  on parental legal rights in Mexico)
                                                             21
                                                                         In Hague cases, which are typically expedited, parties have also utilized their own foreign
                                                             22
                                                                  lawyers as experts in foreign law as it is often onerous for left behind parents to hire or find
                                                             23
                                                             24   qualified experts in addition to their own personal counsel. See Saavedra v. Montoya, No. 21-CV-

                                                             25   5418(EK)(VMS), 2023 WL 2910654, at *11 (E.D.N.Y. Apr. 12, 2023) (petitioner calls his

                                                             26   Colombian lawyer as expert regarding Columbian legal system); Baz v. Patterson, No. 23 C 5017,
                                                             27
                                                                  2023 WL 8622056, at *6 (N.D. Ill. Dec. 13, 2023), aff'd, 100 F.4th 854 (7th Cir. 2024) (petitioner’s
                                                             28
                                                                  Case 3:24-cv-04471-EMC Document 136 Filed 10/15/24 Page 19 of 24




                                                                  German lawyer and expert testifies regarding custody rights under German law); Farr v. Kendrick,
                                                              1
                                                              2   No. CV-19-08127-PCT-DWL, 2019 WL 2568843, at *9 (D. Ariz. June 21, 2019), aff'd, 824 F.

                                                              3   App'x 480 (9th Cir. 2020) (“Father's other expert witness was … a Mexican attorney who has

                                                              4   represented him in various legal proceedings in Mexico.”); Saada, 712 F. Supp. 3d at 368)
                                                              5
                                                                  (respondent submits opinions from her Italian lawyers). Petitioner has not found a single case to
                                                              6
                                                                  support Respondent’s position that utilization of a party’s foreign lawyer in a Hague Convention
                                                              7
                                                                  case waives attorney client privilege. In the undersigned experience, no such waiver of privilege
                                                              8
                                                                  has ever been found in such a scenario. As a general concept, left behind parents (and responding
                                                              9
                                                             10   parents for that matter) should not be forced to hire attorneys in the United States to prosecute their

                                                             11   Hague Case, an attorney in their own country to litigate custody, and then a third attorney to act
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                                                             12   as an expert in foreign law.
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                                                                         To that point, none of the cases Respondent cites are Hague Convention cases. Aspex
                                                             14
                                                                  Eyewear, Inc. v. E'Lite Optik, Inc., 276 F. Supp. 2d 1084 (D. Nev. 2003) is a patent infringement
                                                             15
                                                                  case where this issue commonly arises and there is an established body of case law. It involves the
                                                             16
                                                             17   extent of the waiver of the attorney-client privilege and work-product immunity in the context of

                                                             18   reliance on legal advice as a defense to willfulness – not to an expert’s knowledge of foreign law.
                                                             19           Herrick Co. v. Vetta Sports, Inc., No. 94 CIV. 0905 (RPP), 1998 WL 637468 (S.D.N.Y.
                                                             20
                                                                  Sept. 17, 1998) is also distinguishable. There, defendant Skadden Arps designated an expert
                                                             21
                                                                  witness on the subject of legal ethics that was to opine on whether Skadden formed an attorney-
                                                             22
                                                                  client relationship with the plaintiffs and then withheld documents that expert had previously
                                                             23
                                                             24   prepared for them on the general subject matter of his testimony which could have been used to

                                                             25   impeach his testimony, claiming attorney-client privilege. The court ordered these documents to

                                                             26   be turned over. This is an altogether different issue than the one here, where Petitioner seeks to
                                                             27
                                                                  use his attorney to testify to Armenian law.
                                                             28
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                                                                          Another case which is distinguishable is Union Pac. R.R. Co. v. Loran Maint. of Way, Inc.,
                                                              1
                                                              2   2006 WL 8459287, at *6 (D. Utah Feb. 1, 2006). In this case, the plaintiff initiated an action

                                                              3   seeking indemnification from the defendant for the settlement amount paid in a previous case. The

                                                              4   expert witness served as plaintiff’s trial counsel and played a significant role in the settlement
                                                              5
                                                                  negotiations of the prior lawsuit, directly influencing the circumstances leading to the current
                                                              6
                                                                  litigation. The attorney was asked to give his expert opinion “regarding the reasonableness of the
                                                              7
                                                                  settlement” of that very litigation. Id at *1. The plaintiff in this case put the advice and the thought
                                                              8
                                                                  processes of its attorneys directly at issue. In contrast, an Armenian lawyer's role is purely
                                                              9
                                                             10   advisory, based on their knowledge of the law, without being directly tied to the parties involved.

                                                             11           Furthermore, Multiform Dessicants, Inc. v. Stanhope Prods. Co., Inc., 930 F. Supp. 45, 47
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                                                             12   (W.D.N.Y. 1996) is also not comparable. This is another patent infringement case where the
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                                                                  patentee appointed its patent attorney as an expert witness, and this action was reasoned to have
                                                             14
                                                                  waived the attorney-client privilege regarding all communications related to the patent
                                                             15
                                                                  prosecution. Although Ms. Dashyan provided a summary of the Armenian proceedings in her
                                                             16
                                                             17   expert report, the central focus of her testimony concerns ameliorative measures in Armenia, and

                                                             18   therefore her role as counsel in the Armenian proceedings is not directly at issue here.
                                                             19           Similarly, In re Witt, No. ADV. L-09-00061-8-AP, 2010 WL 3219471 (Bankr. E.D.N.C.
                                                             20
                                                                  Aug. 10, 2010), the defendants intended to proffer an attorney as a lead witness, despite her having
                                                             21
                                                                  represented one of the defendants in previous transactions that led to the present action. This case
                                                             22
                                                                  is distinguishable because the substance of the attorney’s testimony related to privileged
                                                             23
                                                             24   information.

                                                             25           The types of facts to which Ms. Dashyan will testify – like whether orders of protection

                                                             26   are available in Armenia, what protections are available for victims of alleged domestic violence
                                                             27
                                                                  and the procedure for obtaining those protections, and whether Armenian courts can order things
                                                             28
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                                                                  like supervised visitation – have no nexus with privileged information. It is impossible to conceive
                                                              1
                                                              2   of any privileged information that she could have exchanged with Petitioner that would be relevant

                                                              3   to her testimony regarding the Armenian family law’s statutory provisions and legal availability

                                                              4   of things like orders of protection.
                                                              5
                                                                          Respondent is on an extreme fishing expedition as they can draw absolutely no connection
                                                              6
                                                                  between the substance of Ms. Dashyan’s anticipated testimony and privileged communications.
                                                              7
                                                                  Respondent’s statement that privilege was waived because Ms. Dashyan stated (likely undisputed)
                                                              8
                                                                  facts about Armenian legal proceedings also misses the mark. Her statements are based on
                                                              9
                                                             10   Armenian legal documents and speak for themselves. Her testimony in that regard is more akin to

                                                             11   that of a fact witness than of an expert opinion.
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                                                             12           In the cases cited by Respondent, the issue is generally that a party’s own lawyer in the
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                                                                  case in question is called to testify as an expert, not a foreign lawyer representing the party in a
                                                             14
                                                                  totally distinct case. As such, the cases cited are distinguishable.
                                                             15
                                                                          Moreover, the expert lawyers in the cases cited were relying on privilege information to
                                                             16
                                                             17   formulate their opinions whereas here, Ms. Dashyan is not relying on any privilege

                                                             18   communications and is relying on Armenian filings that were exchanged well before discovery
                                                             19   officially commenced in this case. (See Petitioner’s Proposed Trial Exhibit 24, 25, 26, 63, 64).
                                                             20
                                                                  Those filings made clear that Ms. Dashyan was Petitioner’s lawyer in Armenia, a fact no one
                                                             21
                                                                  attempted to hide and which should not be characterized as a surprise to Respondent. The
                                                             22
                                                                  information contained in the Armenian filings are not privileged information and are not strictly
                                                             23
                                                             24   pertinent to her opinion. 5

                                                             25
                                                             26   5
                                                                    To this extent, if the Court is inclined, over the objection of Petitioner, Ms. Dashyan can simply
                                                             27   not rely on any of the Armenian proceedings in her testimony at trial. The Armenian filings and
                                                                  the information contained therein speak for themselves. Her opinion is based on Armenian law
                                                             28
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                                                                         As Ms. Dashyan’s opinion is based on her experiences and on Armenian law, any
                                                              1
                                                              2   privileged communications certainly have no bearing on her opinions. Respondent contends that

                                                              3   “Ms. Dashyan opined on the Armenian Proceedings as part of her expert report on ameliorative

                                                              4   measures. See Ex. 87 at ¶¶ 54–57.” Ms. Dashyan does not “opine” on the Armenian proceedings.
                                                              5
                                                                  Rather she simply states what happened in those proceedings based on a review of the documents.
                                                              6
                                                                         Respondent states that she “should be able to question Ms. Dashyan on the scope of his
                                                              7
                                                                  attorney-client relationship, including about how much Petitioner has paid Ms. Dashyan in the
                                                              8
                                                                  Armenian litigation and whether Petitioner has retained Ms. Dashyan for future litigation should
                                                              9
                                                             10   the Children be returned to Armenia.” [ECF No. 128 at Pg. 15]. “The attorney-client privilege

                                                             11   protects confidential disclosures made by a client to an attorney in order to obtain legal advice, ...
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                                                             12   as well as an attorney's advice in response to such disclosures.” United States v. Ruehle, 583 F.3d
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                                                                  600, 607 (9th Cir. 2009). Certainly, Respondent is free to ask those questions of Ms. Dashyan at
                                                             14
                                                                  any evidentiary hearing as they do not seek to elicit legal advice or Petitioner’s statements in
                                                             15
                                                                  relation to seeking legal advice. The questions posed by Respondent are typical cross examination
                                                             16
                                                             17   questions for any expert that have no bearing on privileged information.

                                                             18           Furthermore, Respondent asserts that Petitioner did not object to producing Ms. Dashyan’s
                                                             19   documents based on burden, nor did Petitioner produce a privilege log. Respondent’s second
                                                             20
                                                                  request for the production of documents sought: “All COMMUNICATIONS between [Petitioner]
                                                             21
                                                                  and each and every witness identified in [his] initial disclosures dated September 5, 2024.” [ECF
                                                             22
                                                             23
                                                             24
                                                                  and procedures. However, she should be permitted to opine on any facts testified to at trial or
                                                             25   presented by the attorneys.
                                                             26
                                                                  Respondent seeks extreme relief that the Armenian litigation and its findings, which clearly cut
                                                             27   against Respondents’ allegations, cannot even be raised in this case. Respondent seeks to prevent
                                                                  a full exploration of the relevant evidence in order to prevent the possibility of any adverse
                                                             28   conclusions the Court could draw against her.
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                                                                  No. 128-2]. Ms. Dashyan was indeed included in Petitioner’s initial disclosures. [ECF No. 128-7].
                                                              1
                                                              2   Nonetheless, Petitioner’s preliminary statement in his responses and objections to Respondent’s

                                                              3   request for production of documents states the following (See Exhibit G):

                                                              4               Nothing contained herein is intended to be, nor shall in any way be construed as,
                                                                              a waiver of any attorney-client privilege, work-product protection, right to
                                                              5
                                                                              privacy, or any other applicable privilege, immunity, or protection. Any
                                                              6               inadvertent inspection and subsequent production of any privileged information
                                                                              shall not constitute a waiver of any of the rights or privileges of Petitioner, and
                                                              7               Petitioner reserves the right to demand the return of any such document and all
                                                                              copies thereof. To the extent that any Document Request may be construed as
                                                              8               calling for disclosure of documents or information protected by any privilege,
                                                                              immunity, or protection, a continuing objection is hereby interposed.
                                                              9
                                                             10          Paragraph 13 of Petitioner’s General Objections states the following:
                                                             11
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                                                                              Petitioner objects to any Document Request that, by its terms, is (1) unduly
                                                             12               burdensome in scope; (2) calls for Respondent to speculate as to the information
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                                                                              in which might come within the scope of the Document Request; (3) calls for the
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                                                                              production of privileged or confidential material and (4) purports or attempts to
                                                             14               impose obligation beyond those set forth in the Federal Rules of Civil Procedure.

                                                             15          Moreover, Petitioner specifically objected to Respondent’s second request seeking all

                                                             16   communications between Petitioner and every witness identified in his initial disclosures based on
                                                             17
                                                                  burden, contrary to Respondent’s assertions in her motion. Petitioner’s response to Respondent’s
                                                             18
                                                                  second request stated the following:
                                                             19
                                                                              Petitioner incorporates his General Objections, Objections to Definitions, and
                                                             20               Objections to Instructions in their entirety into this response. Petitioner specifically
                                                             21               objects to this Request on the grounds that it is not limited by any time frame and,
                                                                              as written, could be understood to require the production of documents, recordings,
                                                             22               or information regardless of when they were created or whether they are relevant
                                                                              or proportional to the needs of the case. This Request is vague, ambiguous,
                                                             23               overbroad, and unduly burdensome.
                                                             24          Therefore, Petitioner did raise objections over privilege and that the request was unduly
                                                             25
                                                                  burdensome even though Respondent states otherwise in her motion. [ECF No. 128 at Pg. 15].
                                                             26
                                                                  After Respondent further raised this issue for the first time on October 5, 2024 (See Exhibit D),
                                                             27
                                                                  the parties engaged in meaningful, if fruitless, meet and confers. Ultimately, Respondent’s
                                                             28
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                                                                  expansive request for all privileged communications concerning the Armenian proceedings
                                                              1
                                                              2   between Petitioner and his Armenian attorney, was not acceptable.

                                                              3   III. CONCLUSION

                                                              4           For the foregoing reasons, it is respectfully requested that Respondent’s motion be denied in
                                                              5
                                                                   its entirety.
                                                              6
                                                                  Dated: October 15, 2024
                                                              7
                                                                                                                Respectfully submitted,
                                                              8
                                                                                                                /s/ Kelly J. Shindell DeLacey
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